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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,         )       No. CR-F-93-5147 OWW
                                       )
10                                     )       ORDER DENYING MOVANT'S
                                       )       MOTION PURSUANT TO 18 U.S.C.
11                   Plaintiff/        )       § 3583(c)(2), (Doc. 420),
                     Respondent,       )       AND DENYING MOVANT'S MOTION
12                                     )       FOR ORDER TO SHOW CAUSE
               vs.                     )       (Doc. 421)
13                                     )
                                       )
14   WILLIAM HENRY LEE,                )
                                       )
15                                     )
                     Defendant/        )
16                   Movant.           )
                                       )
17                                     )
                                       )
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          On March 9, 2007, Movant, William Henry Lee, proceeding in
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     pro per, filed a motion pursuant to 18 U.S.C. § 3583(c)(2).
20
     Movant seeks an order resentencing him based on Amendment 599 to
21
     the Sentencing Guidelines.
22
          The motion is DENIED.     In the “Reason for Amendment” set
23
     forth by the United States Sentencing Commission, Amendment 599
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               directs that no guideline weapon enhancement
25             should be applied when determining the
               sentence for the crime of violence or drug
26             trafficking offense underlying the 18 U.S.C.

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1                     § 924(c) conviction, nor for any conduct with
                      respect to that offense for which the
2                     defendant is accountable under § 1B1.3
                      (Relevant Conduct). Guideline weapon
3                     enhancements may be applied, however, when
                      determining the sentence for counts of
4                     conviction outside the scope of relevant
                      conduct for the underlying offense (e.g., a
5                     conviction for a second armed bank robbery
                      for which no 18 U.S.C. § 924(c) conviction
6                     was obtained).

7          Here, Movant was not charged with or convicted of violating

8    18 U.S.C. § 924(c).          Therefore, Amendment 599 is inapplicable and

9    does not provide a basis for resentencing.1

10         IT IS SO ORDERED.

11   Dated:        June 4, 2007                /s/ Oliver W. Wanger
     668554                               UNITED STATES DISTRICT JUDGE
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                  Movant’s motion for order to show cause is DENIED as moot.

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